     Case 4:19-cv-07123-PJH        Document 488   Filed 12/18/24    Page 1 of 19



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 7

 8                              UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                     OAKLAND DIVISION
11

12   WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
13   corporation,                                 MOTION TO STRIKE THE
                                                  SUPPLEMENTAL EXPERT REPORT OF
14               Plaintiffs,                      DANA TREXLER, CPA/CFF
15         v.                                     Date: February 13, 2025
                                                  Time: 2:00 p.m.
16   NSO GROUP TECHNOLOGIES LIMITED               Place: Courtroom 3, Ronald V. Dellums
     and Q CYBER TECHNOLOGIES LIMITED,                   Federal Building & U.S. Courthouse,
17                                                       1301 Clay Street, Oakland, California
                     Defendants.
18
                                                  Action Filed: 10/29/2019
19

20                                                FILED UNDER SEAL
21                                                [REDACTED VERSION OF DOCUMENT
22                                                FILED UNDER SEAL]

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       DEFENDANTS’ MOTION TO STRIKE                                  Case No. 4:19-cv-07123-PJH
       SUPPLEMENTAL EXPERT REPORT
     Case 4:19-cv-07123-PJH          Document 488         Filed 12/18/24     Page 2 of 19



 1          PLEASE TAKE NOTICE that on February 13, 2025 at 2:00 p.m., Defendants NSO Group

 2   Technologies Ltd. and Q Cyber Technologies Ltd. (collectively “NSO”) will bring on for hearing

 3   before the Honorable Phyllis J. Hamilton, United States District Judge, in the United States

 4   Courthouse, 1301 Clay Street, Courtroom 3, Oakland, California, a motion to strike the

 5   Supplemental Expert Report of Dana Trexler, CPA/CFF (“Supplemental Trexler Report” or

 6   “Trexler Supp.”). NSO’s Motion is based on this Notice of Motion, the following Points and

 7   Authorities, the accompanying Declaration of Aaron S. Craig and exhibits thereto, and such other

 8   written or oral argument as may be presented at or before the time this Motion is taken under

 9   submission by the Court.

10                                    POINTS AND AUTHORITIES

11          Plaintiffs served the Rule 26 disclosure of their damages expert Dana Trexler on August 30,

12   2024. The report disclosed three opinions:

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16                                                                      .

17          The very same day that rebuttal reports were due (and the day that Defendants’ rebuttal

18   expert, Greg Pinsonneault, served his rebuttal to Ms. Trexler’s initial report), Ms. Trexler filed a

19   “supplemental” report that completely changed the methodology by which she calculated

20   Defendants’ revenues—this time using a document that Defendants had produced several days prior

21   to her initial report and upon which Ms. Trexler had relied for other purposes in her initial report!

22          As a result of this sequence of events, particularly the fact that Plaintiffs waited until the

23   evening that Mr. Pinsonneault’s rebuttal report was due before serving a “supplemental” Trexler

24   report with an entirely new and different methodology for calculating Defendants’ revenues, the

25   approximately $25,000 spent by Defendants on the portion of Mr. Pinsonneault’s initial report

26   rebutting Plaintiffs’ initial disgorgement opinions were completely wasted. The timing of Ms.

27   Trexler’s supplemental report, and Plaintiffs’ failure even to notify Defendants that a supplemental

28   report was coming, reflect rank gamesmanship on Plaintiffs’ part. In addition to the wasted time

                                                      1
       DEFENDANTS’ MOTION TO STRIKE                                           Case No. 4:19-cv-07123-PJH
       SUPPLEMENTAL EXPERT REPORT
     Case 4:19-cv-07123-PJH         Document 488          Filed 12/18/24   Page 3 of 19



 1   and expense of Mr. Pinsonneault’s rebuttal of Ms. Trexler’s now discarded initial disgorgement

 2   opinion, Plaintiffs’ conduct has necessitated Mr. Pinsonneault’s preparation of two further

 3   supplemental reports. There is no justification, much less the required “substantial justification”

 4   for Plaintiffs’ delay until the evening rebuttal reports were due to provide Defendants with notice

 5   of the Supplemental Trexler Report, and Plaintiffs’ misconduct has inflicted clear harm on

 6   Defendants. Accordingly, the Court should strike the Supplemental Trexler Report.

 7                                                Background

 8          Plaintiffs served the expert report of Dana Trexler, CPA/CFF, on the last day allowed by

 9   the Court’s scheduling order, August 30, 2024. (Craig Decl., Exh. A.) The report disclosed three

10   opinions which she summarized on pages 4–5 of her initial report. First, Ms. Trexler opined that

11

12                            (Id. ¶ 12.) Second, she disclosed her opinion that

13

14                                                                                        (Id. ¶ 122 and

15   Table 8 at 44-45.)

16

17

18

19               (Id. ¶¶ 110-114.) Third, Ms. Trexler opined that

20

21                                 (Id. ¶ 126.)

22          Ms. Trexler’s third opinion (Craig Decl. Exh. A ¶¶ 124-127)                                  a

23   spreadsheet produced by Defendants setting forth the revenues Defendants obtained from each

24   customer who had licensed any of Defendants’ products during the period for which the Court

25   ordered that discovery be had—April 29, 2018 through May 10, 2020 (the “NSO Revenue

26   Spreadsheet”) (Craig Decl. ¶ 5 & Exh. B). Defendants produced the NSO Revenue Spreadsheet to

27   Plaintiffs on August 26, 2024. (Craig Decl. ¶ 5.)

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       DEFENDANTS’ MOTION TO STRIKE                                         Case No. 4:19-cv-07123-PJH
       SUPPLEMENTAL EXPERT REPORT
Case 4:19-cv-07123-PJH   Document 488   Filed 12/18/24   Page 4 of 19
     Case 4:19-cv-07123-PJH          Document 488          Filed 12/18/24   Page 5 of 19



 1   (Columns C-K), the product in question (whether Pegasus or other of Defendants’ non-Pegasus

 2   products) (Column L). (Craig Decl. ¶ 5.) It also identifies, for the Pegasus contracts, which

 3   installation vectors the customer had licensed the right to use (Columns R-U). (Id.) It also

 4   identifies, for each Pegasus account, the source of the information about the installation vectors

 5   (Column Q). (Id.)

 6            On September 21, 2024, Defendants disclosed to plaintiff the rebuttal report of Defendants’

 7   economist, Greg Pinsonneault, rebutting Ms. Trexler’s initial report. (Craig Decl. Exh. C.) Mr.

 8   Pinsonneault explained several basic flaws in Ms. Trexler’s methodology, including but not limited

 9   to

10

11

12

13                            (Id. ¶¶ 68–81.) In his rebuttal, Mr. Pinsonneault performed an alternate

14   calculation of Defendants’ revenues associated with the Accused Technology between January 1,

15   2019 and May 19, 2019, based on the NSO Revenue Spreadsheet. (Id. ¶¶ 97-113).

16            Ms. Trexler disclosed her brand-new disgorgement methodology on September 21, 2024 in

17   a “supplemental” report served at 9:14 PM (Craig Decl. ¶ 7 & Exh. D). In her supplemental report,

18   Ms. Trexler

19

20

21

22                                    (Craig Decl. Exh. D ¶ 6.) Her supplemental report

23

24                                       Ms. Trexler’s pretextual justification for not using her new

25   methodology in her initial report appears to be

26

27                                     Ms. Trexler’s supplemental report does not reference the fact that

28   neither she nor Plaintiffs’ counsel ever asked Defendants’ counsel to answer any questions Ms.
                                                       4
          DEFENDANTS’ MOTION TO STRIKE                                        Case No. 4:19-cv-07123-PJH
          SUPPLEMENTAL EXPERT REPORT
     Case 4:19-cv-07123-PJH          Document 488           Filed 12/18/24     Page 6 of 19



 1   Trexler had about the NSO Revenue Spreadsheet, nor does the supplemental report make any effort

 2   to justify the 15-day delay between Ms. Gil’s deposition and the service of Ms. Trexler’s

 3   supplemental report—time when Plaintiffs knew Defendants would be preparing a rebuttal to Ms.

 4   Trexler’s initial report.

 5                                                 Argument

 6   I.       Overview of Pertinent Legal Standards

 7            Federal Rule of Civil Procedure 26 provides that expert disclosures must be made at the

 8   times directed by the Court. See Fed. R. Civ. P. 26(a)(2)(D). Rule 37, in turn, provides that if a

 9   party fails to provide the information required by Rule 26(a), “the party is not allowed to use that

10   information or witness to supply evidence on a motion, at a hearing, or at a trial, unless the failure

11   was substantially justified or harmless.” Fed. R. Civ. P. 37(c)(1) (emphasis added). When

12   considering whether an untimely expert report is substantially justified or harmless, the Court may

13   consider various factors, including: (1) prejudice or surprise to the party against whom the evidence

14   is offered; (2) the ability of that party to cure the prejudice; (3) the likelihood of disruption of the

15   trial; and (4) bad faith or willfulness involved in not timely disclosing the evidence. See Lanard

16   Toys Ltd. v. Novelty, Inc., 375 F. App’x 705, 713 (9th Cir. 2010). The party offering an expert

17   report after the deadline has the burden to prove that its delay was substantially justified or

18   harmless. Duarte Nursery, Inc. v. United States Army Corps of Engineers, 2017 WL 3453206, at

19   *7 (E.D. Cal. Aug. 11, 2017). The Court has “particularly wide latitude . . . to issue sanctions under

20   Rule 37(c)(1).” Yeti by Molly, Ltd. v. Deckers Outdoor Corp., 259 F.3d 1101, 1106 (9th Cir. 2001)

21   (affirming exclusion of expert testimony due to untimely report).

22            Rule 26(e) addresses supplementation of expert reports. “Supplementing an expert report

23   under Rule 26 means correcting inaccuracies, or filling the interstices of an incomplete report based

24   on information that was not available at the time of the initial disclosure.” Duarte Nursery, 2017

25   WL 3453206, at *6 (emphasis added; quotation omitted). The Ninth Circuit has cautioned that

26   Rule 26(e) is not “a loophole” through which a party can change its expert disclosures “after the

27   court’s deadline for doing so has passed.” Luke v. Family Care & Urgent Med. Clinics, 323 Fed.

28   App’x 496, 500 (9th Cir. 2009) (affirming exclusion of untimely expert declarations). In particular,
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          DEFENDANTS’ MOTION TO STRIKE                                          Case No. 4:19-cv-07123-PJH
          SUPPLEMENTAL EXPERT REPORT
     Case 4:19-cv-07123-PJH           Document 488          Filed 12/18/24     Page 7 of 19



 1   Rule 26(e) “does not give license to sandbag one’s opponent with claims and issues which should

 2   have been included in the expert witness’ report.” Duarte Nursery, 2017 WL 3453206, at *6

 3   (quotation omitted). Accordingly, “courts have rejected supplemental expert reports that . . . were

 4   significantly different from the expert’s original report and effectively altered the expert’s

 5   theories.” Id.; accord Sherwin–Williams Co. v. JB Collision Servs., Inc., 2015 WL 4742494, at *3

 6   (S.D. Cal. Aug. 11, 2015).

 7   II.     The Court Should Strike the Untimely Supplemental Trexler Report.

 8           This Court’s February 23, 2023 Order re Motions to Compel and Motion for Relief from

 9   Case Management Order directed the parties to make their Rule 26 expert disclosures by August

10   30, 2024. See Dkt. 292 at 7. The untimely Supplemental Trexler Report, dated September 21, 2024

11   is not a proper supplemental disclosure as allowed under Rule 26(e)(1) because it seeks to alter

12   Plaintiffs’ disgorgement theories and calculations and does so based on

13

14                                             Plaintiffs cannot carry their burden to show that their delay

15   in offering the new disgorgement opinions and calculations in the Supplemental Trexler Report

16   was substantially justified or harmless. For these reasons, and as explained more fully below, the

17   Court should strike the Supplemental Trexler Report.

18           A.      The Supplemental Trexler Report Is Not Authorized By Rule 26(e).

19           The Supplemental Trexler Report is not a proper supplement under Rule 26. It does not

20   correct inaccuracies or fill in interstices of an earlier incomplete report. Instead, it belatedly offers

21   an entirely new theory and calculation of profits allegedly subject to disgorgement, and it does so

22   based on

23                       . “Rule 26(e) . . . does not give the producing party a license to disregard

24   discovery deadlines and to offer new opinions under the guise of the supplement label.” Linder v.

25   Meadow Gold Dairies, Inc., 249 F.R.D. 625, 640 (D. Haw. 2008); see also Gerawan Farming, Inc.

26   v. Rehrig Pacific Co., 2013 WL 1982797, at *5 (E.D. Cal. May 13, 2013) (purported

27   “supplemental” report that generate[d] an entirely new damages calculation” was not authorized

28   under Rule 26(e)). Less still does Rule 26(e) “permit parties to add new opinions to an expert report
                                                        6
       DEFENDANTS’ MOTION TO STRIKE                                              Case No. 4:19-cv-07123-PJH
       SUPPLEMENTAL EXPERT REPORT
     Case 4:19-cv-07123-PJH          Document 488          Filed 12/18/24    Page 8 of 19



 1   based on evidence that was available to them at the time the initial expert report was due.” Toomey

 2   v. Nextel Communications, Inc., 2004 WL 5512967, *4 (N.D. Cal. Sept. 23, 2004) (emphasis

 3   added); see also Pac. Info. Res., Inc. v. Musselman, 2008 WL 2338505, at *1 (N.D. Cal. June 4,

 4   2008) (report was not a proper Rule 26(e) supplement where analysis did not address newly

 5   available information and instead should have been included in initial report).

 6           Ms. Trexler’s contention that her “supplemental” report

 7                                                                (see Craig Decl. Exh. D ¶ 2) is not well

 8   taken. As even a cursory review of the Supplemental Trexler Report makes clear, Ms. Trexler’s

 9   belated re-do of her calculations of purported “profits subject to disgorgement”

10                                              that was produced to Plaintiffs prior to their submission

11   of Ms. Trexler’s initial report, and which Ms. Trexler cites and discusses in that initial report. See

12   id., ¶ 6–7

13                                                   which was produced prior to initial report and cited

14   therein); see also Craig Decl. Exh. A ¶ 8 n.5, ¶¶ 96–99 & ¶ 126. And while, Ms. Trexler claims

15   that

16                                                                                     that does not justify

17   her belated replacement of her opinion regarding profits subject to disgorgement where the new

18   opinion is based on information previously available to her. Rule 26(e) does not authorize

19   supplementation to address “failures of omission because the expert did an inadequate or

20   incomplete preparation.” Duarte Nursery, 2017 WL 3453206, at *6; see also Cave Consulting

21   Group, Inc. v. OptumInsight, Inc., 2018 WL 1938555, at *3 (N.D. Cal. Apr. 25, 2018) (striking

22   supplemental reports); Keener v. United States, 181 F.R.D. 639, 641 (D. Mont. 1998) (denying

23   leave to submit supplemental report where expert’s failure to include opinions in initial report “was

24   one of omission: the information was there to review. He didn’t review it in detail before

25   expressing his opinion.”); Sherwin–Williams, 2015 WL 4742494, at *6 (Rule 26(e) “does not justify

26   supplementing a report because of a party’s lack of due diligence”); accord Ibekwe v. White, 2016

27   WL 6963051, at *4 (Feb. 23, 2016) (Rule 26(e) did not authorize expert to belatedly submit report

28   changing opinions based on medical records available at time of initial report).
                                                       7
       DEFENDANTS’ MOTION TO STRIKE                                            Case No. 4:19-cv-07123-PJH
       SUPPLEMENTAL EXPERT REPORT
     Case 4:19-cv-07123-PJH         Document 488          Filed 12/18/24    Page 9 of 19



 1          B.      Plaintiffs Cannot Show Substantial Justification for Belatedly Rewriting Ms.

 2                  Trexler’s Disgorgement Opinions.

 3          Because the new disgorgement opinions and calculations in the Supplemental Trexler

 4   Report are

 5                                                Plaintiffs’ delay in offering these new opinions well

 6   after the expert disclosure deadline is not substantially justified. See, e.g., Ibekwe, 2016 WL

 7   6963051, at *4 (delay in submission of supplemental report not justified where medical records

 8   supplying basis for “supplement” were previously available); Pac. Info. Res., 2008 WL 2338505,

 9   at *2 (no substantial justification where analyses in report did not address newly available

10   information and instead should have been included in initial report). With adequate diligence, Ms.

11   Trexler could and should have submitted these opinions and calculations with her initial report.

12          Indeed, to the extent that Ms. Trexler was unable to understand the relevant portions of the

13   NSO Revenue Spreadsheet, Plaintiffs could have sought clarification regarding those contents of

14   the NSO Revenue Spreadsheet from Defendants, but they failed to do so. Worse still, even after

15   obtaining the deposition testimony that Ms. Trexler now contends helped her to understand portions

16   of the NSO Revenue Spreadsheet underlying her revamped disgorgement opinions, Plaintiffs

17   concealed from Defendants their intention to “supplement” Ms. Trexler’s opinions until serving the

18   Supplemental Trexler Report at 9:14 PM on the same day that rebuttal reports were due. Plaintiffs

19   had to have known well in advance of that time that they would be seeking to replace Ms. Trexler’s

20   disgorgement opinions but kept silent while Defendants incurred approximately $25,000 in

21   expenses relating to Mr. Pinsonneault’s rebuttal of initial disgorgement opinions (Craig Decl. ¶ 13)

22   that the Supplemental Trexler Report, if not stricken, would moot.         This Court should not

23   countenance such gamesmanship and sandbagging by Plaintiffs. See Duarte Nursery, 2017 WL

24   3453206, at *6.

25          C.      Plaintiffs’ Attempt To Replace Ms. Trexler’s Disgorgement Opinions Is Not

26                  Harmless.

27          Plaintiffs’ belated attempt to offer entirely new and different opinions and calculations

28   concerning disgorgement is also not “harmless.” Id., at *6–7 (belated “supplemental reports” that
                                                      8
       DEFENDANTS’ MOTION TO STRIKE                                          Case No. 4:19-cv-07123-PJH
       SUPPLEMENTAL EXPERT REPORT
     Case 4:19-cv-07123-PJH          Document 488           Filed 12/18/24    Page 10 of 19



 1   significantly altered calculation of alleged civil penalties were not harmless); accord Ibekwe, 2016

 2   WL 6963051, at *4 (finding information in belated “supplemental” report that “dramatically

 3   affect[ed the] theory of damages” was “highly prejudicial” and granting motion to exclude same).

 4          Here, the prejudice to NSO is particularly acute. Plaintiffs submitted the Supplemental

 5   Trexler Report on the night that rebuttal reports were due under the schedule established by the

 6   Court. By then, NSO had already incurred approximately $25,000 in expenses in connection with

 7   engaging an expert to rebut the disgorgement opinions in Ms. Trexler’s Initial Report that she now

 8   seeks to abandon and replace. Such imposition of litigation expenses incurred in connection with

 9   an expert’s shifting opinions can constitute prejudice sufficient to warrant striking a proposed

10   supplemental expert report. See Rovid v. Graco Children's Products Inc., 2018 WL 5906075, at

11   *10 (N.D. Cal. Nov. 9, 2018) (striking report where opponent incurred burden and expense of

12   engaging experts to respond to initial report “only for those expert reports to be effectively nullified

13   by [] rebuttal report’s about-face”); see also Gerawan Farming, (belated report that altered expert’s

14   opinions was not harmless where opponent “wasted resources reviewing and preparing for

15   [expert’s] old opinions”).

16          Had Plaintiffs and Ms. Trexler exercised reasonable diligence, or even spoken up about

17   their intention to re-do Ms. Trexler’s disgorgement opinions in the ample time they had to do so

18   before rebuttal reports were due, the prejudice their actions have caused Defendants could have

19   been avoided. The Court should not reward Plaintiffs’ sharp practices and should strike the

20   Supplemental Trexler Report.

21                                                Conclusion

22          For the reasons shown above, the Court should strike the Supplemental Trexler Report.

23    Dated: December 18, 2024                              KING & SPALDING LLP

24                                                          By: /s/ Aaron S. Craig
                                                            JOSEPH N. AKROTIRIANAKIS
25                                                          AARON S. CRAIG
26                                                          Attorneys for Defendants

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                                                        9
       DEFENDANTS’ MOTION TO STRIKE                                             Case No. 4:19-cv-07123-PJH
       SUPPLEMENTAL EXPERT REPORT
     Case 4:19-cv-07123-PJH        Document 488   Filed 12/18/24   Page 11 of 19




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 7

 8                                UNITED STATES DISTRICT COURT
 9                               NORTHERN DISTRICT OF CALIFORNIA
10                                      OAKLAND DIVISION
11
      WHATSAPP INC., a Delaware corporation,      Case No. 4:19-cv-07123-PJH
12    and FACEBOOK, INC., a Delaware
      corporation,                                DECLARATION OF AARON S. CRAIG
13                                                IN SUPPORT OF DEFENDANTS’
                   Plaintiffs,                    ADMINISTRATIVE MOTION TO SEAL
14                                                AND IN SUPPORT OF DEFENDANTS’
            v.                                    MOTION TO STRIKE THE
15                                                SUPPLEMENTAL EXPERT REPORT OF
      NSO GROUP TECHNOLOGIES LIMITED              DANA TREXLER, CPA/CFF
16    and Q CYBER TECHNOLOGIES LIMITED,
17                 Defendants.                    Action Filed: 10/29/2019
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      DECLARATION OF AARON S. CRAIG                                   Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH           Document 488        Filed 12/18/24     Page 12 of 19




 1            I, Aaron S. Craig, declare as follows:
 2            1.       I am a member of the California State Bar and the bar of this court. I am a partner

 3    in the law firm of King & Spalding LLP and counsel to NSO Group Technologies Limited and Q

 4    Cyber Technologies Limited (collectively “NSO” or “Defendants”) in this action. I have personal

 5    knowledge of the facts set forth herein and, except as otherwise stated, could testify competently

 6    to each fact herein.

 7            2.       I submit this declaration pursuant to Northern District of California Civil Local

 8    Rules 7-11 and 79-5(d) in support of Defendants’ Administrative Motion to Seal filed concurrently

 9    herewith.      I also submit this declaration in support of Defendants’ Motion to Strike the

10    Supplemental Expert Report of Dana Trexler, CPA/CFF.

11            3.       Attached hereto as Exhibit 1 is a true and correct copy of the unredacted version

12    of Defendants’ Motion to Strike the Supplemental Report of Dana Trexler, CPA/CFF (the “Motion

13    to Strike”).

14            4.       Attached hereto as Exhibit A is a true and correct copy of the Expert Report of

15    Dana Trexler, CPA/CFF, which Plaintiffs in this action served on Defendants on August 30, 2024.

16    Plaintiffs designated Ms. Trexler’s August 30, 2024 report as “Highly Confidential – Attorneys’

17    Eyes Only” pursuant to the Stipulated Protective Order (Dkt. No. 132) in this action. In addition,

18    Exhibit A contains discussion of confidential and competitively sensitive documents and

19    information produced by Defendants and designated as “Highly Confidential – Attorneys’ Eyes

20    Only” pursuant to the Stipulated Protective Order, including Exhibit B discussed below.

21            5.       Attached hereto as Exhibit B is a true and correct printed copy of a Microsoft Excel

22 spreadsheet which Defendants produced to Plaintiffs in native format bearing control number

23 NSO_WHATSAPP_00045858 on August 26, 2024. Exhibit B sets forth the revenues Defendants

24 obtained from each customer who had licensed any of Defendants’ products during the period for

25 which the Court ordered that discovery be had—April 29, 2018 through May 10, 2020. It sets

26 forth an anonymizing account number for each NSO customer (Column A), the revenues earned

27 by Defendants in each quarter between 2Q18 and 2Q20 (Columns C-K), the product in question

28

       DECLARATION OF AARON S. CRAIG                      1                     Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH        Document 488        Filed 12/18/24      Page 13 of 19




 1    (whether Pegasus or other of Defendants’ products) (Column L). It also identifies, for the Pegasus

 2    contracts, which installation vectors the customer had licensed the right to use (Columns R-U). It

 3    also identifies, for each Pegasus account, the source of the information about the installation

 4    vectors (Column Q). The information contained in Exhibit B is commercially sensitive, and NSO

 5    has kept it confidential, including by designating the document “Highly Confidential – Attorneys’

 6    Eyes Only” pursuant to the Stipulated Protective Order (Dkt. No. 132) in this action. Public

 7    disclosure of Exhibit B could harm NSO competitively.

 8           6.      Attached hereto as Exhibit C is a true and correct copy of excerpts of the Rebuttal

 9 Expert Report of Gregory A. Pinsonneault, which Defendants served on Plaintiffs on September

10 21, 2024. Exhibit C contains discussion of confidential and competitively sensitive documents

11 and information produced by Defendants and designated as “Highly Confidential – Attorneys’

12 Eyes Only” pursuant to the Stipulated Protective Order, including Exhibit B discussed above.

13 Portions of Exhibit C also discuss testimony from Defendants witnesses that reveal commercially

14 and competitively sensitive technical, financial and other business information of Defendants, the

15 public disclosure of which could harm Defendants. In addition, Exhibit C includes discussion and

16 rebuttal of information contained in Ms. Trexler’s August 30, 2024 report, which Plaintiffs

17 designated as “Highly Confidential – Attorneys’ Eyes Only” pursuant to the Stipulated Protective

18 Order.
19           7.      Attached hereto as Exhibit D is a true and correct copy of the Supplemental Expert

20 Report of Dana Trexler, CPA/CFF, which Plaintiffs in this action served on Defendants at 9:14

21 PM PT, on September 21, 2024, which is also the date on which reports rebutting initial expert

22 reports were due in this action. Plaintiffs designated Ms. Trexler’s September 21, 2024 report as

23 “Highly Confidential – Attorneys’ Eyes Only” pursuant to the Stipulated Protective Order. In

24 addition, Exhibit D contains discussion of confidential and competitively sensitive documents and

25 information produced by Defendants and designated as “Highly Confidential – Attorneys’ Eyes

26 Only” pursuant to the Stipulated Protective Order, including Exhibit B discussed above.

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        DECLARATION OF AARON S. CRAIG                 2                        Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH          Document 488        Filed 12/18/24      Page 14 of 19




 1              8.     Between August 30, 2024, when Plaintiffs served Ms. Trexler’s initial report, and

 2    September 21, 2024, when Plaintiffs served the “supplemental” Trexler report, Plaintiffs’ counsel

 3    did not notify Defendants that they would be serving another report from Ms. Trexler which would

 4    replace her analysis and opinions concerning of Defendants’ revenues and profits allegedly subject

 5    to disgorgement set forth in Ms. Trexler’s August 30, 2024 initial report.

 6              9.     Plaintiffs’ counsel also did not ask me or any of my colleagues any questions about

 7    Exhibit B after receiving it on August 26, 2024, such as what the different rows and columns

 8    represented. Had Plaintiffs’ counsel sought any such clarification, I would have readily provided

 9    it.

10              10.    Plaintiffs deposed NSO employee Ms. Sarit Gil in London on September 6, 2024,

11    during which Ms. Gil answered all of Plaintiffs’ counsel’s questions about Exhibit B.

12              11.    The Motion to Strike contains discussion of Exhibits A-D hereto, which as

13 discussed in paragraphs 4–7 above, either constitute or address confidential and commercially

14 sensitive information produced by Defendants and designated as “Highly Confidential –

15 Attorneys’ Eyes Only” pursuant to the Stipulated Protective Order.

16              12.    In addition, Exhibits A and D to the Motion to Strike are excerpts of documents

17 Plaintiffs designated as “Highly Confidential – Attorneys’ Eyes Only” pursuant to the Stipulated

18 Protective Order, and Exhibit C includes discussion of portions of Exhibit A that Plaintiffs
19 designated as “Highly Confidential – Attorneys’ Eyes Only” pursuant to the Stipulated Protective

20 Order.

21              13.    I am familiar with the invoices of Defendants’ rebuttal expert Greg Pinsonneault

22 and I have reviewed those invoices. I estimate that the work done by Mr. Pinsonneault and his

23 staff to rebut Dana Trexler’s disgorgement calculation set forth in her initial report cost Defendants

24    approximately $25,000 in expert fees.

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            DECLARATION OF AARON S. CRAIG               2                        Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH        Document 488         Filed 12/18/24      Page 15 of 19




 1           I declare under penalty of perjury that the foregoing is true and correct. Executed this 18th

 2    day of December 2024, at Los Angeles, California.

 3
                                            /s/ Aaron S. Craig
 4                                           AARON S. CRAIG
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        DECLARATION OF AARON S. CRAIG                  2                        Case No. 4:19-cv-07123-PJH
Case 4:19-cv-07123-PJH   Document 488   Filed 12/18/24   Page 16 of 19




                         Exhibit A
       REDACTED VERSION OF DOCUMENT PROPOSED

                     TO BE FILED UNDER SEAL
Case 4:19-cv-07123-PJH   Document 488   Filed 12/18/24   Page 17 of 19




                         Exhibit B
       REDACTED VERSION OF DOCUMENT PROPOSED

                     TO BE FILED UNDER SEAL
Case 4:19-cv-07123-PJH   Document 488   Filed 12/18/24   Page 18 of 19




                         Exhibit C
       REDACTED VERSION OF DOCUMENT PROPOSED

                     TO BE FILED UNDER SEAL
Case 4:19-cv-07123-PJH   Document 488   Filed 12/18/24   Page 19 of 19




                         Exhibit D
       REDACTED VERSION OF DOCUMENT PROPOSED

                     TO BE FILED UNDER SEAL
